
This prisoner was indicted at the District Court of Winchester, in September, 1791, for the murder of Abraham Vanhorn. On his trial, the jury found a special verdict in the following words.
“We of the jury find that about three o’clock on the fourth of July, one thousand seven hundred and ninety-one, John Crane, the prisoner at the bar, was informed by his reapers, that one Campbell’s reapers had sent a challenge to his. That in conse11 quence of this supposed ^challenge, the said John Crane went with others out of his own field into the field of the said Campbell, which was adjoining to that of Crane’s, and that the said Crane did make use of threatening language, such as he could whip any man in the field, meaning Campbell’s reapers, amongst which was Abraham Van-horn ; but after some altercation we find all parties appear to be reconciled; but before said Crane left the field, another dispute arose, in which Crane challenged them to fight, man for man, which Campbell’s party agreed to do, of which number the said Abraham Vanhorn was one : when the parties came near together, they parlied and disputed for some time, the issue of which was, that the prisoner at the bar swore that if he fought any man that day, he would let out their guts, and likewise that he would fight Joseph Van-horn the next morning, for ten dollars, which the said Abraham Vanhorn was to bet him. The prisoner at the bar leaving Campbell’s field, after some time a certain John Dawkins, one of Crane’s reapers, suspected some insult given by Campbell’s party and going to fight any one that would insult him. The prisoner at the bar observing this, requested the said Dawkins to get him a club, and he would take his knife, which knife he took out of his pocket, declaring they could clear their way through the whole of Campbell’s party, upon which the said Dawkins desisted from prosecuting his intentions, and 12 ^likewise the prisoner at the bar. We find that between sunset and dark, that the said Abraham Vanhorn with several others passing through the field of John Crane, the prisoner at the bar, to confirm a bet which was to ensue the next morning, and also making a noise and singing, which the said Dawkins conceived was an insult to the prisoner at the bar and his party. Thereupon Dawkins called out that he could whip Joseph Vanhorn. Joseph Vanhorn replied, it would be no credit to him if he did, as he was a larger man ; upon which the prisoner at the bar came out, and ordered them out of his field, or he would blow them through, upon which they immediately quitted the field; he then called for his gun, which was refused by his wife; he then called for his knife, and pursued them to the fence, exclaiming Abraham Vanhorn, you have used me ill, and I’ll be damn’d if I don’t have satisfaction. Then the said Abraham Vanhorn replied, not more so than you have used me. The prisoner then requested the said Abraham Vanhorn to come over the fence, and fight him ; the said Abraham Vanhorn made answer, that he the said prisoner at the bar would use a knife or razor ; the said prisoner at the bar replied, come over the fence, and I will give a fair fight : the wife of the said prisoner at the bar came down crying out, Mr. Crane, I am surprised you should demean yourself to fight with such a set of negrofied puppies. By this 13 time the ^'prisoner at the bar, and the said Abraham Vanhorn, were much irritated; at which the said Abraham Vanhorn, and Isaac Merchant one of Campbell’s reapers, had their shirts stripped off, which the prisoner at the bar had not: the prisoner at the bar and the said Abraham Vanhorn attempting to get at each other across the fence, who was prevented by John Dawkins. Then the said prisoner struck at Merchant, who struck the said prisoner at the bar, and turned him round, who immediately joined in combat with the said Abraham Vanhorn. We find in the combat that the said Abraham Vanhorn threw the prisoner at the bar on the ground, and kept him there for some time ; at length the prisoner at the bar seemed to get the advantage of the said Abraham Van-horn, at which time the said Abraham Van-*10horn cried enough, and said his guts were cut out. We do find that the said Abraham Vanhorn did receive several wounds with a knife, or some sharp instrument, of which wounds the said Abraham Vanhorn died, and that the wounds were given- by the prisoner at the bar. Upon the whole matter the jury .pray the advice of the court; and if the court should be of opinion that the prisoner is guilty of murder, then we of the jury do find the prisoner is guilty of murder; and if the court shall be of opinion that the prisoner is not guilty of murder, but guilty of manslaughter, then we the jury do find the prisoner not guilty of murder, but guilty of man slaughter. ’ ’
*The District Court not being advised what judgment to give on this verdict, adjourned the question, with the consent of the prisoner, to the General Court for difficulty.
On the 21st November, 1791, the General Court, consisting of Judges Prentis, Tyler, Henry, Jones, Roane and Nelson, entered the following judgment. “This day came as well the attorney general as the counsel for the said Crane, and thereupon the question of law arising upon the special verdict in the transcript of the record of the said case mentioned, to wit, whether the said Crane be guilty of murder, or manslaughter, being argued, it is the opinion of the court that the said Crane is guilty of murder, which is ordered to be certified to the District Court of Winchester.”
